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October 17, 2022

VIA ECF
The Honorable Lorna G. Schofield
U.S. District Judge
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007


Re:      Compass, Inc. and Compass RE NY, LLC v. Real Estate Board of New York, Inc.,
         No. 1:21-cv-02195 – Joint Status Letter

Dear Judge Schofield:

Plaintiffs Compass, Inc. and Compass RE NY, LLC (collectively, “Compass”), jointly with Defendant
Real Estate Board of New York, Inc. (“REBNY”) (with Compass, the “Parties”), respectfully submit this
joint status letter pursuant to the Court’s Order dated August 31, 2022 (ECF No. 63).

I.       Procedural History of Case

Pleadings Filed to Date. Compass filed its Complaint on March 12, 2021 (ECF No. 1). REBNY filed its
Answer on May 5, 2022 (ECF No. 43).

Motions Filed to Date. REBNY filed its Motion to Dismiss the Complaint on May 18, 2021 (ECF
Nos. 13-15). Compass filed its Memorandum of Law in Opposition to Defendant’s Motion to Dismiss on
July 2, 2021 (ECF No. 25), and REBNY filed its Memorandum of Law in Further Support of its Motion
to Dismiss the Complaint on July 30, 2021 (ECF No. 29). On March 31, 2022, the Honorable Alison J.
Nathan denied REBNY’s motion to dismiss as to Compass’s antitrust claims, but granted REBNY’s
motion to dismiss as to Compass’s tortious interference claims (ECF No. 32).

On April 14, 2022, REBNY filed a Motion for Partial Reconsideration or Reargument Under Local Rule
6.3 of the Court’s March 31, 2022 Order, specifically the portion of the Order denying REBNY’s motion
to dismiss Compass’s antitrust claims (ECF Nos. 36-37). Compass filed its Memorandum in Opposition
to Defendant Real Estate Board of New York, Inc.’s Motion for Partial Reconsideration or Reargument
Under Local Ruel 6.3 on April 28, 2022 (ECF No. 40). On July 27, 2022, the Court denied REBNY’s
motion for partial reconsideration (ECF No. 50).

On August 16, 2022, the Parties filed their first request for an extension of the discovery deadlines in this
matter (ECF No. 52). On August 24, 2022, the Court granted this request in part and extended the
discovery deadlines by four months (ECF No. 58).
On September 29, Compass filed a letter with the Court requesting a pre-motion conference for a motion
to compel Corcoran to comply with the subpoena for the production of documents. (ECF No. 68). On
October 14, Corcoran filed its letter in response.

II.     Status of Discovery

Protocols. The Court approved the Parties’ Protective Order and Protocol for the Production of
Documents and Electronically Stored Information on June 23, 2022. (ECF Nos. 47-48).

Discovery Requests. REBNY served its Responses and Objections to Plaintiffs’ First Set of Requests for
Production on June 8, 2022. On June 17, 2022, Compass served its Responses and Objections to
Defendant REBNY’s First Set of Requests for Production of Documents. The Parties are engaged in
meet and confers to resolve their respective objections and reach agreement on search terms and
custodians. Neither Compass nor REBNY have produced any documents as of the date of this joint status
report, but have exchanged initial search terms and custodian proposals. Further, both parties have
collected documents from custodians, exchanged search term “hit reports,” and made significant progress
narrowing the set of documents eligible for relevance and privilege review in advance of production. The
parties are near agreement on a number of issues and expect to begin producing documents to each other
soon.

Third party NRT New York LLC d/b/a The Corcoran Group (“Corcoran”) served its responses and
objections to Compass’s subpoena for the production of documents and to provide corporate deposition
testimony on June 23, 2022. Third party Douglas Elliman served its responses and objections to
Compass’s subpoena for the production of documents and to provide corporate deposition testimony on
June 27, 2022. Compass has engaged in multiple meet and confers with Corcoran and Douglas Elliman
to attempt to resolve their objections and reach agreement on search terms and custodians. Neither
Corcoran nor Douglas Elliman have produced documents as of the date of this report. However, Douglas
Elliman informed Compass that it expects to begin producing documents before the end of the month.
Corcoran and Compass have reached an impasse regarding Corcoran’s objections. Accordingly, Compass
filed its September 29 request for a pre-motion conference for a motion to compel Corcoran to comply
with the subpoena for the production of documents. (ECF No. 68). Corcoran subsequently filed its letter
in response. Compass and Corcoran continue to meet and confer regarding search terms for the requests
that are not included in Compass’s pre-motion letter.

Plans to Meet Court Ordered Discovery Deadlines. As noted above, the Parties asked the Court for an
extension of the discovery deadlines in this matter, and that request was granted in part. The Parties
remain actively engaged in meet and confers on the scope of discovery and have made significant
progress toward meeting current deadlines. As of this Report, the Parties are on track to comply with the
Court’s discovery deadlines.

Please let us know if there is any additional information the Parties could provide that would be helpful to
the Court.

                                                          Respectfully submitted,

                                                          /s/ Chahira Solh
                                                          Chahira Solh (pro hac vice)
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